  Case 2:15-cv-07932-JAK-FFM Document 104 Filed 05/09/18 Page 1 of 3 Page ID #:959



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   Attorneys for Plaintiffs, MARCOS CASTANEDA, and
10
   E.C., a minor, by and through his guardian ad litem,
11 MARCOS CASTANEDA
12
                         UNITED STATES DISTRICT COURT
13
                        CENTRAL DISTRICT OF CALIFORNIA
14
15 ESTATE OF NORMA GUZMAN, by and)            Case No. CV15-7932 JAK (FFM)
                                         )    Consolidated with CV16-03101 JAK (FFMx)
   through successor in interest, GLORIA )
16                                       )    Hon Judge: John A. Kronstadt; Ctrm 10B
   GONZALEZ, individually
17                                       )    Hon Magistrate Judge: Frederick F. Mumm
                                         )
                     Plaintiffs,         )
18                                       )
   vs.                                   )    JOINT STATUS REPORT RE
19                                       )    SETTLEMENT
   CITY OF LOS ANGELES, DOE              )
20                                       )
   OFFICERS 1 through 5, and DOES 6      )
21 through 10, INCLUSIVE, and DOES 1 )
   through 10,                           )
22                                       )
                     Defendants.         )
23 __________________________________ )
                                         )
   AND CONSOLIDATED CASE.                )
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28 _______________________________________________________________________
                     JOINT STATUS REPORT RE SETTLEMENT
  Case 2:15-cv-07932-JAK-FFM Document 104 Filed 05/09/18 Page 2 of 3 Page ID #:960



 1         TO THE HONORABLE JOHN A. KRONSTADT, U.S. DISTRICT COURT
 2 JUDGE AND TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3         COMES NOW the Plaintiff ESTATE OF NORMA GUZMAN, by and through
 4 successor in interest GLORIA GUZMAN, and Plaintiff MARCOS CASTANEDA, and
 5 Defendants CITY OF LOS ANGELES, ANTONIO MCNEELY and SAMUEL
 6 BRIGGS, by and through their counsel of record, hereby stipulate and request that the
 7 Court continue the pending Order to Show Cause re Dismissal, currently set for May 14,
 8 2018.
 9         As the Court is aware, the parties have settled the lawsuit, subject to the approval
10 by the Los Angeles City Council. The Los Angeles City Council approved the
11 settlement on May 1, 2018. The Mayor signed off on the settlement on May 8, 2018. The
12 Parties are in the process of finalizing the settlement agreement. Settlement drafts are
13 expected to be issued on May 16, 2018 and delivered to Plaintiffs' attorneys no later than
14 May 17, 2018. Once the settlement drafts are delivered, the Plaintiffs will file dismissals
15 of this action. In light of the foregoing, the Parties are requesting that the OSC Re
16 Dismissal currently set for May 14, 2018 be continued to May 21, 2018.
17
     Dated: May 8, 2018              BERNARD & BERNARD
18
19                                   By:     /S/ Stephen Bernard
                                           Stephen Bernard, Esq.
20
                                     Attorneys for Plaintiff MARCOS CASTANEDA, et al
21
22
     Dated: May 8, 2018              CASILLAS & ASSOCIATES
23
                                     By:   /S/ Arnoldo Casillas
24
                                           Arnoldo Casillas, Esq.
25                                   Attorneys for Plaintiffs ESTATE OF NORMA
                                     GUZMAN, et al.
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                     JOINT STATUS REPORT RE SETTLEMENT
 Case 2:15-cv-07932-JAK-FFM Document 104 Filed 05/09/18 Page 3 of 3 Page ID #:961



 1 Dated: May 8, 2018           MICHAEL N. FEUER, City Attorney
 2
                                By:     /s/ Christian R. Bojorquez
 3
                                      Christian R. Bojorquez, Deputy City Attorney
 4                              Attorneys for Defendants CITY OF LOS ANGELES
 5
 6 Dated: May 8, 2018           JONES & MAYER
 7
                                By:    /S/ Denise L. Rocawich
 8                                    Denise L. Rocawich, Esq.
                                Attorney for Defendant SAMUEL BRIGGS
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                     JOINT STATUS REPORT RE SETTLEMENT
